Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 1 of 39 PagelD #: 315

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

ZACHARY GIAMBALVO, JOHN MOUGIOS,
SHANE MASHKOW, KEVIN MCLAUGHLIN,
MICHAEL MCGREGOR, FRANK MELLONI,
and RENAISSANCE FIREARMS INSTRUCTION,
INC., and all similarly situated individuals,

Plaintiffs,
Case No.: 2:22-cv-04778
- against -
(Brown, J.)(Tiscione, M.J.)
SUFFOLK COUNTY, New York, Police Commissioner
RODNEY HARRISON, in his Official Capacity, MICHAEL
KOMOROWSKI], Individually, ERIC BOWEN, Individually,
WILLIAM SCRIMA, Individually, WILLIAM WALSH,
Individually, THOMAS CARPENTER, Individually, JOHN
DOES 1-5, Individually and JANE DOES 1-5, Individually,
Acting Superintendent of the New York State Police
STEVEN NIGRELLI, in his Official Capacity,

Defendants.

DEFENDANT SUPERINTENDENT NIGRELLI’S MEMORANDUM OF LAW IN
OPPOSITION TO PLAINTIFFS’ MOTION FOR A PRELIMINARY
INJUNCTION

LETITIA JAMES
Attorney General of the

State of New York
300 Motor Parkway, Suite 230
Hauppauge, New York 11788
(631) 231-2424

PATRICIA M. HINGERTON
OF COUNSEL
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 2 of 39 PagelD #: 316

TABLE OF CONTENTS
TABLE OF AUTHORITIES. ....0..0 0000 ccc cece cee eccceecaeceececececueeeeenetecenunatesunetstess iii
PRELIMINARY STATEMENT. ..........cccccccssscssssssccssccssccsssersceesscesnecestsseeetecessaseseesacessaseseetscesenacs 1
BACK CRG LIN DD csssccsexcanevswnsnvieeannnccucicsacacs oie uss sivccwcs cee RGU RG eeWUEUNEG Ce CGR ON Cu LR en Seiauteute NON ig aioe esczentoutind 2
A. New York State Rifle & Pistol Association v. Bruen ........0 ccc cccccccccvcccuccucencurenecas 2
By The COVA iiss ycic css isnnecceencecnenneccncsncetoeenasssanusngenseneupnenesenenueanuuseunaumeupaweane 3
C "heist AnphiatHOt jocoomasecwreveuaueowenepemaanareeiee rine 4
STANDARD OF REVIEW ...00. 00.0.0 c ccc ce ence ceeeceneeuceeecaueeeeuuuecenuuetenecueceenvnuteceacs 6
ARGUMENT
I. PLAINTIFFS LACK STANDING TO CHALLENGE THE
CONSTITUTIONALITY OF THE CCIA 2.000000. cc cece ccc ccc cc cccccceesceeecaceeereneeeres 7
A. Plaintiffs Have Not Suffered an “Injury-in Fact” Related to the CCIA Licensing
PROVISIONS csescwwispeggeveeeeaeee0NG WC SE REVERE REESE 8 FO ORE cE
B. Plaintiffs Have Not Suffered an Injury-in-Fact Related
to Penal Law §400.00(15) ....... cess cccceeceeccceue sectsuuecceceecnavnsecceeeseneusnceuerars 9
Il. PLAINTIFFS HAVE NOT MADE A STRONG SHOWING OF
IMMINENT AND IRREPARABLE HARM FROM THE CHALLENGED
CCIA PROVISIONS ......... cc ccc csccuccccstcucccuececceccecneecneeceuesuneescuecssssecnseeens 11
Il. PLAINTIFFS HAVE NOT SHOWN A CLEAR LIKELIHOOD OF SUCCESS
ON THE MERITS OF THEIR SECOND AMENDMENT
CHALLENGES TO THE CIA ses cece ss scee cvece ye WS CROCE 6G i oh nnn nnnen nce concusnncananacenes 11
A. Plaintiffs Fail To Carry Their Burden On The First Part Of The Bruen Test.............00. 12
B. The Nation’s Historical Tradition of Firearms Regulation Supports
Provisions Aimed at Ensuring That Only Law-Abiding and Responsible
Persons Are. Ari @ d sossesscssccroscscinuracocsesne ineainaeuntentileeanee nunc tana steer Come REE ER RRRER RITTER 14
C. The Good Moral Character Requirement is Constitutional ................ccccccceeeceeeeeecs 18
D. The Licensing Requirements Are Constitutional .........0.....0..cccccccecccccecscceeseeeuees 20

Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 3 of 39 PagelD #: 317

a. In-Person Interview ............cccececececenecececesecececausessceseauaceusseeeavareens 20
b. Character Referens wresvrssias mapsercrrae nics oii deve renneeecaremernernermes 21
C. CONG NANES scsiccnssainonnnoverneennnewoneevarennwnecemamrer sas pee 21
d. Training Requirement ......... 00.0... cece ec ecececeecececeeeecceeceensaeaettsenenees 22
@x Social MeGiG vvecsssceesavereovnnsreegesusey wie GAGA hie wanarnenennenarseesnn 24
f. Allowing Licensing Officers to Request Other Information ................00.. 26

E. Plaintiffs Cannot Succeed on a Facial Challenge to the Requirement
That License Applications Be Ruled On Within Six Months of the
Date of Presentment .........0.000 0 cece cece ceeccccecacceuvcceenvastesecseeetueuceseuserreneeenrnes 27

F. Applying A Criminal Penalty to Persons Who Carry Outside of License
Restrictions 1s Constitiitiotial gcccavcesvasisees 205500000000 00S hn nsenen 29

IV. THE EQUITIES AND THE PUBLIC INTEREST FAVOR ALLOWING
ENFORCEMENT OF THE CCIA....... eee cee cece eee eeceeeeeceeceeseeecenseteetestesueeeaes 30

CONCLUSION

ii
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 4 of 39 PagelD #: 318

TABLE OF AUTHORITIES
Cases
Able v. United States, 44 F.3d 128 (2d Cir. 1995)..........ccecceccecceeceeceeeeeeeeeussussuseuccusenseness x
Adam v. Barr, 792 F. App’x 20 (2d Cir. 2019)..........cccccccececeesecscuseeeceucucnecveusucueaeavens 9,10
Bach v. Pataki, 408 F.3d 75 (2d Cir. 2005).............ccccecceece cee cee cee teuteuceutcuecaceuvententenss 8-9
Baird v. Bonta, No. 19-cv-617, 2022 U.S. Dist. Lexis 221461 (E.D. Cal. Dec. 8, 2022)..........002. 6
Citibank, N.A. v. Citytrust, 756 F.2d 273 (2d Cir. 1985).........cccccsceeceeecnceecececucucrevcuseceses Lint
Corbett v. Hochul, No. 22 Civ. 5867 (S.D.N.Y. Nov. 29, 2022)........ccecccceseseseesceeeeeenss 23, 24
Dickerson v: Napolitano, 604 F.3d 732 (2d Cir: 2010) ccaccsvsses ssssece ses veevesessieeesdscsccdcssaeden 11
District of Columbia v. Heller, 554 U.S. 570 (2008)............ecscsscesececcveeeecncesers 12, 20; 22,29
Deew Harris, 772 30.563 (OW Cit 2014) sevcvsewserssseeaesmnweessmanemnmaueesunanas 25-26
Does v. Suffolk Cnty., 2022 U.S. App. Lexis 19094 (2d Cir. July 12, 2022).........0..cccceceeeeeeeee 10
Dwyer. Farrell, 193 Conti.) (1984) scsicsccsscscsowanecawavvasvenievuvesneuseusveam ewan wauariaceww ees 19
Frey v. Bruen, No. 21 Civ. 5334, 2022 U.S. Dist. Lexis 31053
Ms Rwy eg) care ese easeeresceee semen ear RUINED Rc reeset 4,9, 10
Gazzola v. Hochul, No. 22 Civ. 1134, 2022 U.S. Dist. Lexis 220168
(N.D.N.Y. Dec. 7, 2022)....cccccccceccceeeeseeesersecesssececessesecuscesecsuscessaseseessseseecrsceeeeees 13
INS v. Miranda, 459 U.S. 14 (1982).......ccccccecnecseccsecsecsececeeeeeeeceeseeeeeeuesusaueauseneuecens 28
Int'l Bhd. of Teamsters v. United States, 431 U.S. 324 (1977)... .ccccccececsccececeeveeeueceaneeseuss 8
Jackson-Bey v. Hanslmaier, 115 F.3d 1091 (2d Cir. 1997)..........ccccccecceceecuscescuscuceuceuceernene 9
Jacoby & Meyers, LLP v. Presiding Justices, 852 F.3d 178 (2d Cir. 2017)............cccceceeeeeeees 27
Kanter v. Barr, 919 F.3d 437 (7th Cir. 2019). 2.20. .....cceceecececeeecceteceseesecsenscenecnenseeueususens 19
Konigsberg v, State Bar of Cal., 353 U.S. 252 (1957).......ccccccscecceccecucucuscusaceuseveucuenecnscs 18
Libertarian Party of Erie Cnty. v. Cuomo, 970 F.3d 106 (2d Cir. 2020)..............4. 8-9, 18, 25-26
Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992).........cececcececesesesesecuececsenencncseveeeuens 7
Maryland v: King; 567 US. 1301 (2012) ce seczce cesescresneiesesii dea epaconennnrnaensananegraemannanncess 30
Mastrovincenzo v. City of New York, 435 F.3d 78 (2d Cir. 2006)..........0.cccccsceccececeeeceeeeeen 26
McDonald, Cricag6, 56132742 010) es ccvercesersepenswepepcanegieeeeet WUUIRER Ma aneenaennences 9

ili
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 5 of 39 PagelD #: 319

New York State Rifle & Pistol Association v. Bruen, 142 S. Ct. 2111
(2022) sscvssecusowssyeesrewnener ecaueee uae YE IU TLE ES il eaneperaccens 2-3, 8, 12, 14, 18-20, 22, 24, 28, 29

Nken v. Holder, 556 U.S. 418 (2009)... cecceecc ccc cesccesceeccaecccceucsusceecuuceaneeeerscueseneears 6
Or. Firearms Fed., Inc. v. Brown, No. 22-cv-1815, 2022 U.S. Dist. Lexis 219391

(D. Or, Dee, 6, 2022 sisson snccnsvevernanavivere ameemeia mewn meine me @ueetE ee eeIeeke, 13
Pena-Rodrisnez\. Colorado; 137 S204. 835. (201 1) wcaxccrenecsxccaavevmunconscmmnaeemenes: 14
People ex. rel. Schneiderman vy. Actavis PLLC, 787 F.3d 638 (2d Cir. 2015)..........c0ecc0eeeneeeeee 7
Rodriguez ex rel. Rodriguez v. DeBuono, 175 F.3d 227 (2d Cir. 1999).......c0.cccccceeceeeecueeeees 11
albleyv.. Watches, 50).F. Supp. 3d 210 (W.DNY. 2020) vsiiciciasiovisawenmaveeronewmenws 10
npoked).ine.1 Rebs, 51 LS S804 20 LG osccnscanenansmawasuneuaameumnunveursuscnegnanrennuarecccor 7
Lowrof Chester v: Larae Estates,.Jnti, 137 S.820.1648 (2017) iccscc-onescvainsnavantaeneowmeneweess 7
U.S. v. Yancey, 621 F.3d 681 (7th Cir. 2010)......... ccc ccc ccc cceceeceeceeceeceeecuscucucsusaveuseeeuenss 18
United States v. Carpio-Leon, 701 F.3d 974 (4th Cir. 2012).............cccccceececeeeeceeuueseeeusens 15
United States v. Decastro, 682 F. 3d 160 (2d Cir. 2012)...........c.cecceceeeecuccecscusuveusuveucuenens 8
United States v. Gonzalez, No. 22-CV-54, 2022 U.S. Dist. Lexis 224710

(Ds Utah Dees 1252022) iiss iiiiisas can saccaneanennaencenasenseaovansenseaneenanenseasensucganteneunsencneas 13
United States v. Miller, 307 U.S. 174 (1939)... ....:cccecccecesecceecseeteescusceuceuscenecescueenerenss 23
United States vy. Reyna, No. 21-CR-41, 2022 U.S. Dist. Lexis 225896

(N.Dis di) Des $2022 Viv we ssasea esvrercamerqwesncncsesseesientieanncaameeacacearneneaneannenncnnceanes 12-14
United States v. Salerno, 481 U.S. 739 (1987).......cccccccsceceececncuscececucuseecececesecueasaeess 11,25
United States v. Tilotta, No. 19-cr-4768, 2022 U.S. Dist. Lexis 156715

(S.1).Cal. Aug. 30) 2022) evccuscncsews mas eeunyuer ee uuneEE ENT ELSE REIS 12-14, 21-22
We The Patriots USA, Inc. v. Hochul, 17 F 4th 266, 281 (2d Cir. 2022).............cecceceeceeceeeees 12
Wiliams King S65. 5upp.4d 308 (SDN. Ys 20 A) cccomsnwosivoemmuesmmawerancecnsanee 9
Winter. NRDC, ne: 353 U.S.7 (2008) sccsesscscercesammmrenvsaraeew vue eeunenmmexueneenes 6, 30
Young Advocs. for Fair Educ. v. Cuomo, 359 F, Supp. 3d 215 (E.D.N.Y. 2019).....0..00.cccccce eee 10
Statutes

11 Del. Code Ann. § 1441(a)(3)...... cece cece ees eeceeceseeseee eeu eeueeeeeeseusencenseueereeneaneass 22
13 Alaska Admin. Code § 30.070(a)(1)(A)...........cccecceecccccucsesccusccuccuvceseecseeuscusceeeeers 23

iv
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 6 of 39 PagelD #: 320

2022 N.Y. Laws 371 § 26(8)...... 0c. cece eee ceecee cc eceeeeeeeeeeeeeesesceeeeeessaeceecuuceceueeeuveusesss 8
21 Okla. Stat. Ann. § 1290.12(A)(2)...... ee ee ceecc cece eee cee cee eeeeeeeeeseeseeceeeceececeueeenesueseaass 22
25 Maine Stat. § 2003(1)(E)(5)..... sees ceeccceecceeeeneeceeeeeeueceuecceesccuececuseeuecususcuteceuseeneen 22
LB USC. § 416 ii isecsensereaneseies ier igernernnnnceecnsane qeausanveupsneanenseatsanenevecrntmerentinnnncnas 29
AZ USAC, § 1983 ccs vinssaursanenesvikassaiWiiinerenneerennense eenenneeemem esas enmuernmnasnennominensenerenewans 1
A3ZQ-INL, Sta § 66/25(6) cececcseeeeveceeupesiciiesannancannencervenrsenannavnnenseunannmenennanensneeananenne 22
430 Ill. Comp. Stat. 66/75(b)..... 0.0... ccc ccccccccccucccncueccncececusececustceceeecurecersuvasatusatucnees 23
Ala: State§ TIA-11-75(O)Z) secveorrree yea swarms yes eewppew ewes V5 sap nenanaenensomennrannensenns 27
Alaska Stat.'§ 18:65.705( 6) swcssisenasuyerscvawewsiscewecwys Wav Weis OARS Cae nena ene erercenrers 22
Anize Stat. §1323.112( B)(G )icccssnswxesreesnvsesemennany nerve vec ive pees SNGG en eenearerre-ane 22
Ark. Stat..§ 5573-309(13 ) sccsseweamesavewsvswwverenswaewwniwaw wees wage wae25 COT nee nneencenenrene 22
al Petal Code § 26 UG 3 BCS) sscrsnnsccscswsvanseraauran nie sthteabaw ante atReR WEARS ML RIRG SERN DSSRRSRVANUT AGERE 23
Colo. Stat. § 18-12-2035 (VD visvexusacastmersssasrmerreaawaswetriusvurecmnnunaemtiees 22
Conn: Gen. Stat, § 29+28(D) cccarsnnencanusnesae sna aveenies maar eee 19, 22
Bla: Stat. § 1900602 ONO 6A J cscsnaasrccrenencsnmomnrir iene wen tinxaennaieae one sp weNueed wNNeEMCRNNE TENS 22
a, Coden am. © Lee DEI 28 0d) (A ) cmasornensuscmanacrnanmnacnenainaincos rues ssvcerumancemmsarenacumuesrnad 19
WGalrer Stal 18 URS BOZO ccsessrcancucoensonzaieann remiacasssrcnanrreme nsionanemacunmucsuanmnememnmaucures! 22
Pro cease aresser cco mser enc cera sensor ceeneneesa nanan SO STRSERArE AO RRRRATON ES 19
Towa Stat. § 724.900... cece eceeeececesecaeceteeaeseseeeensassssaceeceeeusasavenencusaveveusueesaats Ze
Kan. Stat. 75-7004(D)(1)... 0... ee ceecsecseceecuscnsensssnssessssssssesesssesssescsescstssatssssssscsssssssesssesensvenenee 22
Ky. Stat. § 237.1 10(4)G).... eee ceecceccecnseneeeseenecescesceeeesesseeseensenescsncsseeneeneeneeneuneas 22
La. Rev. Stat. § 1379.3(D)........cccceeeeee eee seeceeccu eee eeaeesucesscsesseesauceeneeuserscesccuecensensn 22
Mich. Stat. § 28.425j..... 00... ececeeeeeeeecseecaueeeeeeceaeeeeueeeuecseesecsucseuussuscesuecaueceeeseneeens 22
Minn. Stat. § 624.714... cece cence cece ceeceeeeeeeeeeseseaseesesseceuseseususeeueeeueeuseuneears 22
Mo. Stat. 571.101(2)(10).... eee eee eecnec sense eeeceeceeeeseecuceucuecueeeetsaususuenscuseneeeerees 22
Monit. Stat. $ 45-8-321 (3) siscivesesvessasivess cssesaecsesacsacenconneeunssesenersenvassaesannenpenvannenatess 22
Nev. Rev. Stat. § 202.3657(3)(C).........ccccceceecececcesecesteneeaeetasseecescerseneeseveuseenscaeeneees 22
NLM. Stat. Arme§ 29219¢4(A 10) cusessresaverereney si ideeecennnannpencenaneenmanensanennnepnrenesanan 22
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 7 of 39 PagelD #: 321

N.M. Stat. Ann. § 29-19-7A 0... cece cece cee ccececeeeaeecusteusseecesccuseesecuscstecueceueeaneeneeaans 23
N.C. Stat. § 14-415.12(4) (effective Oct. 1, 2022)..........ccccccecccecceeeceecuseucesccusceeeeensenses 22
N.Y. Penal Law § 265.00(10).........ec cece ceccesccaeeseeeeeeceeteeceeceavcevseuucsscusecaueceseasass 28, 29
NLY. Penal Law § 265.01 sccssissiccvassscieaisceneenecnenrnerecreceancnucencareavnassonvecvensarvarnensesnees 4
N.Y. Penal Law § 400.00(1)(b).......... cee ceececcsecnsceeceeeceeeeeeuceuceuceusseeeeeeeeeersensss 3-4, 18-19
NeY.Pénal Law § 400,000] (0) ecesevsweverssveseueeservwesreareiaei\neannenaceaenennsonneaswarmen 3-5, 24, 26
NAY. .Penal Law § 40000468) o.cscssseies ermernwersaisss ce eRaeEeeP GU WAIUE anne core oanennemeraceeen: 27,29
WN.Y...Penal Daw § 40000(4-) scwscomssreswnssemaweenrsenmu means a eese 1am Ree SIONS SEPA deena neck 4
N.Y. Penal Law $400.00 (15) scssiesscsnuuyyeeueaaseceperceese ein WAS OEE ias- 4,9, 29
N.Y. Penal. Law'§ 400.000 9) scccanuvccarszepeuseenumercemevenyaee even yeIe RSE EL TSOVR SDE nnen 3,4
Obie: Rev Code § 29230125 ccc:avmnoscumasncnnwonepeupyewenmeene eae aE aN RATERS OLIERmRUNE BUSSeINRREENSS 22,
Or. Rev. Stat. Anim: § 166.2910) () scsssencacconesenewrscianeanuwreouuuuresvyuvemmeesueeeouemuseine: 22
DCG Ban DG alt 2 cccnnansesconemmmnocenemanemnananinnuecamareanmann RuEUReENaNENENENE ERECT 19
Boek TOMA OOS Le TS NG i ecsmnsinmesssnnesesnsewsnuresanensenenesascesearanonsat ats canner rentnit ee ipsrioncanis attcietorsemrmemtats aD
BN a cecsarcescee cen core ancnsenrenememnsennereNacenioaeeRNin Ro rEEMRNer NUTR 22
Tenn. Code Ann. § 39-17-1366(b)(4)(A).......cccceccecceece eee eccecceceeeeeseestestestesteseesereneeuans 22
Va. Code § 18.2-308.02(B)...........cccecceeceeceveeeeeeeeestestestestustuscuesuucecutcuseutcuseteeeeeess 22
W.Va. Code § 61-7-4(e)... cece ceccccceeeeeee eee eeuecueeuecseceececuesencescuscesetecueceecneeneeas 22
Wis. Stat. Ann. § 175.60(4).... 00... ceccee eee ceeccsecceeeceeseeeseseeesteescusecaveueeeaecnsesueeeueeusenenss ae
Wyo. Stat. Ann. § 6-8-104(b)(vii). 00... eee ccc eecceeeceeeeseceseeceeussesccuuceenecanceusccuuceascuaees 22

Historical Statutes and Authorities

1 Records of Mass. 1628-1641 (Nathaniel B. Shurtleff, ed. 1853).............cccccceeceeceeeuceneeeees 15
1 William Hawkins, A Treatise of the Pleas of the Crown, at 136, ch. 63, § 9............ceeeeeeeeeee 17
1776-1777 Pa, Laws ch. XXI, §§ 1, 4...... 0c. cccceccecceeceeceeeeeeeeeeeseeceuceuseueeeeueeaeeneeuense 15, 20
LOIN id WBE ST core meueeu man yuer eres ros eure curse eam N TE awe eawanannnpeemmmnnnonmmtnscmans 23
LEIQNGY, Laws, ChiSS scscesspevewezava camara esen SeseeSeWS58 8a VANES Us nanaananeanannmuoanaucurncaone 16
P782:N Ys Law AS2-43 ex cunruceurseemecurowpommscuerumneso i). neammgnaemanmpneememennnaenuanntmes 23

vi
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 8 of 39 PagelD #: 322

L806 NI LAWS S03 cccccecerssigscsiiy. anpeecenneceneenanentaernsanmennaneanennenssomenssmnsewaaaeawsnvenneuas 23
1881 Ordinances of the Mayor, Aldermen and Commoniality of the City of New York art.
XXVII, § 265 (rev. Elliott F. Shepard & Ebenezer B. Shafer, 1881)..................0 17, 20-21, 28
Act for Establishing and Conducting the Military Force of New-Jersey, 1806 N.J.

GAWS S36 vccscwircssnmeneunwsmenanaiuuweiemencueeyweu ONE REDS OCRCILIURT RUT ENCES EE IERE ELD VEAG RE Seno nancane 16
Actot March 14,1776, in 1775-1776. Mass. Acts & Laws 3 esascccevssounsesasersoescereswewacen 15
An Act for the Better Security of the Government, 1777, in Maryland Session Laws.............. 15

An Act for Disarming Papists, and Reputed Papists, Refusing to Take the Oaths to the
Government (1756), in 7 William W. Hening, The Statutes at Large, Being a Collection

of all the Laws of Virginia 35-36 (Richmond: Franklin Press, 1809)..............0.cecceeeeeeuceeees 14
An Act for Regulating the Militia of the State of New York (1780).............0.csceeeeeceeeeseeee 16
An Act for Regulation of the Militia of this Commonwealth, 1822 Penn. Laws 316, 340.......... 16

An Act to Amend An Act for Declaring What Crimes and Practices Against the State Shall
Be Treason, . . . and for Preventing the Dangers Which May Arise From Persons
Disaffected to the State, 1777, in North Carolina Session Laws...........ecscccececccscceseecececee 15

An Act to Oblige the Free Male Inhabitants of this State Above a Certain Age to Give
Assurances of Allegiance to the Same (1777), in 9 William W. Hening, The Statutes at
Large, Being a Collection of all the Laws of Virginia 281, 281-82 (1821)............0cc0ee0eee 15, 16

An Act to Prohibit the Selling of Guns, Gunpowder or Other Warlike Stores to the Indians
(1763), in 6 The Statutes at Large of Pennsylvania From 1682 to 1801, at 319-20
(WM Stanley Ray 1899)... 00... cc cecceceeceseeseeeeceeeucueceecescsessuscucuueuveneeeesuensensans 14

An Act to punish the carrying or selling of deadly or dangerous weapons within the District
of Columbia, and for other purposes § 2, Public Law 52-159, 27 Stat. 116, 116-17
CBD) szces 355505 ce mmennannennemees cenneamennnenannen teen sana yweuienasiensientiosnanienwareenrmesiaenanwaxnaers 17

An Act to Regulate the Militia (1782), 1781 N.Y. Laws, ch. 27...........cccccecececeececeuceceuecssee 16
Compiled Ordinances of the City of Omaha, ch. XXXI, § 6 (Champion S. Chase ed., 1881)........ 21

Henning, Collection of All the Laws of Virginia........0.00.c0ccccccccceceuccuccuccuccuceuceuccuceucuseas 24
John Carpenter, Liber Albus: The White Book of the City of London 335 (Henry Thomas

Riley 6d., LondGii 1861) ge scawescesuscseweenpwaxeu issn use GNGRWEsi eed mmnnancecammnnacernermmananeneearn 17
Journals of the Provincial Congress, Provincial Convention, Committee of Safety and

Council of Safety of the State of New York, 1775-1776-1777, at 389 (1842).........c0ccceeceeeeeee 16
MilinaActof 1662; laa 14:Care 2.6.3 813 (662) swovwsersaseesseservewemawmncecaccess 15,21

vii
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 9 of 39 PagelD #: 323

Order of Mass. General Court of 1648, reprinted in The Laws and Liberties of

Massachusetts 28 (Harvard Univ. Press 1929).............ccccecececneeeeeeceeeeeeeeeenseeeeuseeeueueens 14
Thomas Greenleaf, Laws of the State of New-York (1792)........0..ccccceccecuscuccesuceesseneuess 23-24
Other Authorities

David C. Williams, Civic Republicanism and the Citizen Militia: The Terrifying Second
Amendment, 101. Yale 1,J,.531,-580 (Dee: 199] secccsccseovssssveseyees esavexsyenieiis teaeaeiersexeass 24
NY Senate Bill $51001 (2021-22 Leg. Sess.), Sponsor MemoO............:scsceceessessaseseseveseneues 3

Patrick J. Charles, Armed in America: A History of Gun Rights from Colonial Militias to
Concealed Carty (201 8 \oveuswsaveswusswrseweeecaswaneasmansarcearenreue wag eaWlGNOGKTAG ORCC OREN 17

Patrick J. Charles, The Faces of the Second Amendment Outside the Home: History Versus
Ahistorical Standards of Review, 60 Cleveland St. L. Rev. 1, (2012).............c.ccccceeecee ee eees 17

Texas House of Representatives Investigative Committee on the Robb Elementary
Shooting, Interim Report 2022.02.00... ..cccccec ese cec eee ececeeensneeseeeeeeeenesenseeenenseaeueeaseeeens 25

Vili
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 10 of 39 PagelD #: 324

Defendant Steven Nigrelli, sued in his official capacity as Acting Superintendent of the
New York State Police (the “Superintendent”), respectfully submits this memorandum of law,
together with the Declaration of Assistant Attorney General Patricia M. Hingerton (“HD”) with
exhibits, in opposition to that portion of the motion for a preliminary injunction filed by Plaintiffs
Zachary Giambalvo, John Mougios, Shane Mashkow, Kevin McLaughlin, Michael McGregor,
Frank Melloni, and Renaissance Firearms Instruction, Inc. (“Plaintiffs”) as raises a constitutional
challenge to various provisions of New York State’s Concealed Carry Improvement Act (““CCIA”).

PRELIMINARY STATEMENT

In this application, Plaintiffs seek an injunction against Suffolk County and its officials
(the “County Defendants”) on numerous grounds, including an assertion that various provisions
of the CCIA are facially unconstitutional. See, e.g., Memorandum of Law in Support of Plaintiffs’
Application for a Preliminary Injunction, ECF No. 27-14 at 14-16. Although Plaintiffs have not
sought relief in the Order to Show Cause directly against the Superintendent, he submits this
opposition to address only the facial constitutional challenges raised in the motion.

Plaintiffs—four individuals who seek a concealed carry handgun license, one individual
who seeks to amend his restricted handgun license, a firearms training company, and its
president!—filed the complaint in this action on August 15, 2022 against the County Defendants
under 42 U.S.C. § 1983 claiming violations of their First, Second, Fourth, and Fourteenth
Amendment rights arising from the County Defendants’ alleged policies on handgun licensing.
On November 17, 2022, plaintiffs amended their complaint to, among other things, add the

Superintendent as a defendant and add facial challenges to five different provisions of the CCIA.

' Plaintiffs Melloni and Renaissance Firearms Instruction, Inc. only challenge Suffolk County policy regarding
firearms training, and therefore, they will not be discussed further herein.

]
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 11 of 39 PagelID #: 325

See First Amended Complaint (““AC” ECF No. 13). Plaintiffs waited until December 11, 2022 to
move for preliminary injunctive relief.

Plaintiffs’ application for a preliminary injunction against enforcement of the CCIA should
be denied for any number of reasons. First, Plaintiffs lack standing to challenge the CCIA,
meaning that this Court need not even address the constitutional claims. Second, Plaintiffs fail to
make a strong showing of imminent and irreparable harm (particularly given their unexplained
delay in challenging a statute that was enacted months earlier), let alone any harm attributable to
the CCIA provisions they challenge. Third, even if the Court is inclined to reach the merits, the
Plaintiffs have no likelihood of success on their facial constitutional challenge because the
statutory provisions fully comport with the Supreme Court’s decision in New York State Rifle &
Pistol Association v. Bruen, 142 8, Ct.2111 (2022). And fourth, the equities clearly weigh against
interim injunctive relief and heavily in favor of New York’s duty to keep weapons out of the hands
of those who may use them to harm others.

BACKGROUND

A. New York State Rifle & Pistol Association vy. Bruen

In Bruen, the Supreme Court held that the “plain text” of the Second Amendment protects
the right of “ordinary, law-abiding citizens” to “‘bear’ arms in public for self-defense.” 142 S. Ct.
at 2122, 2135. It ruled that when “the Second Amendment’s plain text covers an individual’s
conduct,” the government must then demonstrate that its regulation is “consistent with this
Nation’s historical tradition of firearm regulation.” /d. at 2126, 2129-30. But in cases that require
this historical analysis, the government need only identify a “historical analogue” that is

“relevantly similar” to the challenged regulation—not a “historical twin.” /d. at 2132-33.
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 12 of 39 PagelID #: 326

Applying this test, the Court found that a single provision of New York’s concealed carry
licensing regime was unconstitutional: the requirement that an applicant demonstrate “proper
cause” to obtain a concealed carry license, i.e., a showing of a specific self-defense need beyond
that of the public at large. /d. at 2123. Significantly, the Court also made clear that “nothing in our
analysis should be interpreted to suggest the unconstitutionality of . . . ‘shall-issue’ licensing
regimes,” which “often require applicants to undergo a background check or pass a firearms safety
course.” /d. at 2138 n.9 (cleaned up). Such measures are permissibly “designed to ensure only that
those bearing arms in the jurisdiction are, in fact, ‘law-abiding, responsible citizens.’” Jd.

B. The CCIA

On July 1, 2022, the CCIA was passed by the New York State Legislature and signed into
law by Governor Hochul. The bill was drafted “to align with the Supreme Court’s recent

decision in []Bruen,” Press Release, July 1, 2022, available at https://on.ny.gov/3BM6Hz7,

by eliminating the requirement that applicants for concealed carry licenses demonstrate proper
cause. See NY Senate Bill S51001 (2021-22 Leg. Sess.), Sponsor Memo. As relevant here, the
CCIA added a definition for the longstanding requirement of “good moral character” for a
handgun license, a provision which had previously been held constitutional by the Second Circuit.
Specifically, the CCIA defined the term “good moral character” to mean “having the essential
character, temperament and judgement necessary to be entrusted with a weapon and to use it only
in a manner that does not endanger oneself or others.” Penal Law § 400.00(1)(b).

The CCIA also revised the licensing process, requiring that every applicant “shall meet in
person with the licensing officer for an interview,” id., § 400.00(1)(0), complete sixteen hours of
training and two hours of live-fire instruction, id. §§ 400.1(o)(iii), 400.00(19), and submit

statutorily specified information, id. § 400.00(1)(0)(i)-(v). The latter includes the “names and
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 13 of 39 PagelID #: 327

contact information of no less than four character references who can attest to the applicant’s
good moral character and that such applicant has not engaged in any acts, or made any statements
that suggest they are likely to engage in conduct that would result in harm to themselves or
others,” id. § 400.00(1)(0)(ii), and the “names and contact information for the applicant’s current
spouse, or domestic partner, any other adults residing in the applicant’s home, including any adult
children of the applicant, and whether or not there are minors residing . . . in the applicant’s
home,” id. § 400.00(1)(0)(i). Applicants must also provide “a list of former and current social
media accounts . . . from the past three years to confirm” that information. /d. § 400.00(1)(0)(iv).
Under Section 400.00(4-b), licensing officers are required to act upon license applications within
six months of presentment, unless written notice is provided to the applicant. Licensed firearm
owners in New York are largely exempt from laws criminalizing firearms possession; instead of
being subject to charges under those laws, N.Y. Penal Law §§ 265.01 ef seg., any violations of
the firearms laws are treated as a violation of the terms of their license under N.Y. Penal Law §
400.00(15), which is a misdemeanor. See generally Frey v. Bruen, No. 21 Civ. 5334, 2022 U.S.
Dist. Lexis 31053, at *15-*16 (S.D.N.Y. Feb. 22, 2022).

C. The Instant Application

On December 11, 2022 — 23 weeks after the CCIA was enacted, 16 weeks after this case
was filed, and 14 weeks after the CCIA’s provisions went into effect — Plaintiffs moved for a
preliminary injunction against defendants’ implementation and enforcement of Penal Law §§
400.00(1)(b) (good moral character requirement); 400.00(1)(0) (requirements for an in-person
interview; character references; list of cohabitants; social media accounts; other information
requested by the licensing officer); 400.00(19) (training requirement); 400.00(4-b) (requirement

to act on an application within six months); and 400.00(15) (misdemeanor for violations of §
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 14 of 39 PagelD #: 328

400.00; here, limited to those who carry outside their license restriction). The supporting
declarations submitted by Plaintiffs allege, in relevant part, as follows:

Plaintiff Giambalvo avers that in February 2020, he submitted a county application for a
concealed carry license to the Suffolk County Police Department (“SCPD”) Licensing Bureau.
See Giambalvo Decl, 7. After he learned that the application fee had not been received,
Giambalvo completed another application in or around June 2022, following which SCPD advised
that there was an approximately a year and one-half to two year wait before he would hear from
an investigator to schedule his in person interview. /d. at {| 8-10. Giambalvo avers that he will
not appear for an in-person interview, nor provide the information required by the CCIA under §
400.00(1)(0). fd. at 14-15.

Plaintiff Mougios avers that in July 2021, he applied to the SCPD for a concealed carry
license but has not yet been assigned to an investigator and will not be scheduled for an interview
for up to another year based on SCPD procedures. See Mougios Decl.,{f 8-9. Mougios challenges
the good moral character requirement, and claims that he will not appear for an in-person
interview, provide the information required by the CCIA under § 400.00(1)(o), or take the required
training. Jd. at J] 5, 12, 15-16.

Plaintiff Mashkow applied to the SCPD for a concealed carry license on an undisclosed
date, and then contacted the SCPD in or around November/December 2021 to check on the status,
at which point he learned that his fee had not been received. See Mashkow Decl.,§ 10. Mashkow
reapplied in February 2022 and was advised by the SCPD that he “should get an appointment
sometime in February 2024.” /d. at §§ 11-12. Mashow objects to the fees he was quoted by a

local business for taking the 18-hour training required by the CCIA. /d. at §§] 17-18.
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 15 of 39 PagelD #: 329

Plaintiff McLaughlin submitted an unsigned declaration, which, therefore, should not even
be considered. Notwithstanding this deficiency, he alleges that he applied to the SCPD for a
concealed carry license in July 2022, following which he contacted the SCPD, and was advised
that he “would not be called in... for approximately 3 years-in and around July 2025.” McLaughlin
Decl., §{ 4-5 (emphasis omitted). McLaughlin “objects to all of the regulations enacted under the
[CCIA],” but, in particular, “will not spend the money and time to attend the 18-hour training
course.” /d. at J 7.

Plaintiff McGregor applied to the SCPD for a handgun license in 2020 and obtained a
restricted license limited to sportsman activities on March 24, 2022. McGregor Decl., 94] 5, 16, 18.
On August 15, 2022, prior to the enactment of the CCIA, McGregor filed an application with the
SCPD to amend his license to remove the restriction, and that application remains pending. Jd. at
4] 20-21. McGregor objects to the training requirement and he intends — at some point — to carry
outside of his sportsman restriction. /d. at J§ 24, 26-27.

STANDARD OF REVIEW

A preliminary injunction is “an extraordinary remedy never awarded as of right.” Winter
v. NRDC, Inc., 555 U.S. 7, 24 (2008). The burden is on Plaintiffs to establish that (1) they are
likely to succeed on the merits; (2) they are likely to suffer irreparable harm in the absence of
preliminary relief; (3) the balance of equities tips in their favor; and (4) an injunction is in the
public interest. /d. at 20. The final two factors—the balance of the equities and the public interest-—

“merge when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).?

? Plaintiffs claim that balancing the equities “is no longer viable in the context of a Second Amendment challenge,”
ECF No. 27-14 at 20, but they are wrong. Bruen was an appeal from the grant of a motion to dismiss. Contrary to
Plaintiffs’ suggestion, nothing in Bruen’s holding indicates that it implicitly changed the long-settled preliminary
injunction standard. Federal courts have continued to apply the balance of the equities requirement to preliminary
injunction motions made after Bruen, and at least one court has denied a preliminary injunction motion based on the
equities alone. See Baird v. Bonta, No. 19-cv-617, 2022 U.S. Dist. Lexis 221461 (E.D. Cal. Dec. 8, 2022).

6
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 16 of 39 PagelD #: 330

Where, as here, plaintiffs ask the Court to enjoin the enforcement of a duly enacted statute,
plaintiffs must make “a heightened showing . . . consistent with the principle that ‘governmental
policies implemented through legislation . . . are entitled to a higher degree of deference and should
not be enjoined lightly.”” Able v. United States, 44 F.3d 128, 131 (2d Cir. 1995). Plaintiffs must
show a “clear” or “substantial” likelihood of success on the merits and make a “strong showing”
of irreparable harm. People ex. rel. Schneiderman v. Actavis PLLC, 787 F.3d 638, 650 (2d Cir.
2015). As discussed below, Plaintiffs have not made the requisite showing.

ARGUMENT

POINT I: PLAINTIFFS LACK STANDING TO CHALLENGE THE
CONSTITUTIONALITY OF THE CCIA

Unless a plaintiff has Article III standing, a court lacks subject matter jurisdiction to hear
his claim. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). To establish Article III
standing, a plaintiff bears the burden of establishing three “irreducible constitutional minimum”
elements. /d. at 560. “The plaintiff must have (1) suffered an injury in fact, (2) that is fairly
traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by a
favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). “[A] plaintiff must
demonstrate standing for each claim he seeks to press and for each form of relief that is sought.”
Town of Chester v. Laroe Estates, Inc., 137 8. Ct. 1645, 1650 (2017).

A. Plaintiffs Have Not Suffered an “Injury-in Fact” Related to the CCIA Licensing
Provisions

Plaintiffs lack standing to challenge the CCIA’s licensing provisions because their
applications for a carry license have not been denied. In fact, except for McGregor, none of the
Plaintiffs has even completed and submitted the Pistol/Revolver Application PPB-3 form (“PPB-

3”) to SCPD, and none will do so until 2024 at the earliest. See AC, ¥ 248 (“[NJo Plaintiff will
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 17 of 39 PagelD #: 331

be...provided with the [PPB-3] until some Wednesday in 2024 at the earliest.”). As to McGregor,
he already submitted a PPB-3 to obtain his carry license before the requirements of the CCIA went
into effect, and received a license; while he also submitted an amendment to his license to remove
his sportsman restriction, that has not yet been denied by SCPD.? See McGregor Decl., 9] 5, 16,
19-21. Thus, none of the Plaintiffs has been required to disclose to SCPD the licensing information
to which they object (i.e., character references; list of cohabitants; compliance with training
requirement; social media accounts; other information required by the licensing officer), nor have
they been subjected to an in-person interview or had an evaluation of their moral character.
Plaintiffs, therefore, have not yet suffered the injury-in-fact required for standing, which is
fatal to their claim. See Libertarian Party of Erie Cnty. v. Cuomo, 970 F.3d 106, 122 (2d Cir.
2020), abrogated in part on other grounds by Bruen, 142 S. Ct. 21114 (only plaintiffs who had
their applications denied alleged an injury-in fact); United States v. Decastro, 682 F. 3d 160, 164
(2d Cir. 2012) (holding that plaintiff who failed to apply for a New York gun license lacked
standing to challenge the state’s licensing laws), cert. denied, 568 U.S. 1092 (2013). Although an
individual may also have standing if he is able to make a “substantial showing” that completing
his application and obtaining a decision would be futile, Libertarian Party, 970 F.3d at 116,
Plaintiffs here have not done so. A plaintiff may show futility where it is clear that his application
would be denied based on immutable characteristics or, at the very least, characteristics that are
not easily altered. See Int’l Bhd. of Teamsters v. United States, 431 U.S. 324, 365-66 (1977)

(minority persons deterred by “Whites Only” employment policy would suffer injury); Bach vy.

3 Virtually all of the CCIA’s application requirements “shall apply only to licenses for which an application is made
on or after” September 1, 2022. 2022 N.Y. Laws 371 § 26(a).

* The Bruen decision abrogated the Second Circuit’s decision in Libertarian Party, 970 F.3d 106, only to the extent
Libertarian Party (1) upheld New York’s “proper cause” requirement under the Second Amendment; and
(2) applied “means-ends” scrutiny to plaintiffs’ Second Amendment challenge. Bruen, 142 S. Ct. at 2127 & n.4. The
Second Circuit’s decision otherwise remains controlling precedent, including its rulings relating to the circumstances
in which an applicant for a firearms license may, or may not, have standing to sue.

8
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 18 of 39 PagelID #: 332

Pataki, 408 F.3d 75, 82-83 (2d Cir. 2005) (plaintiff's application for a concealed carry license was
futile where he was not a New York resident and thus statutorily ineligible), overruled on other
grounds by, McDonald v. Chicago, 561 U.S. 742 (2010). In contrast, a plaintiff fails to demonstrate
futility where he opts not to complete an application despite being able to do so. This is because
“a plaintiff must submit to the challenged policy” and “[mJere objection or antipathy to the law”
does not constitute futility. Libertarian Party, 970 F.3d at 121, 116; Jackson-Bey v. Hanslmaier,
115 F.3d 1091, 1097-98 (2d Cir. 1997) (plaintiff did not show futility in challenge to prison’s
religious worship policy where he did not complete a registration form but could have done so).°

B. Plaintiffs Have Not Suffered an Injury-in-Fact Related to Penal Law §400.00(15)

McGregor is the only Plaintiff who currently possesses a carry license restricted to
sportsman activities, see McGregor Decl., § 16-18, and therefore, is the sole Plaintiff who could
seek to enjoin enforcement of Section 400.00(15) against licensees who carry outside of their
restriction. McGregor, however, has not demonstrated injury-in-fact to challenge this statute.

Where, as here, a plaintiff is trying to challenge a statute that has never been enforced
against him, “pre-enforcement review is available where the ‘circumstances render the threatened
enforcement sufficiently imminent,’ which can be established ‘by plausible allegations that a
plaintiff intends to engage in conduct proscribed by a statute, and there exists a credible threat of
prosecution thereunder.’” Frey, 2022 U.S. Dist. Lexis 31053, at *12 (quoting Adam v. Barr, 792
F, App’x 20, 21-22 (2d Cir. 2019) (summary order)).

Here, McGregor fails to plead sufficient facts to demonstrate a concrete plan to carry

outside of his restriction. He merely avers—in overly generalized and entirely conclusory

° Nor can Plaintiffs create their own futility by unilaterally refusing to comply with legal requirements they dislike.
See Williams v. King, 56 F. Supp. 3d 308, 326 (S.D.N.Y. 2014) (no standing where plaintiff “declined to comply with
the policy .. . and there is no evidence in the record to suggest that compliance would have been futile.”).

9
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 19 of 39 PagelID #: 333

fashion—that he intends to “carry [his] registered handgun in public for self-protection outside of
[his] sportsman restriction.” McGregor Decl., §26. But such “‘some day’ intentions—without any
description of concrete plans, or indeed even any specification when the some day will be—do not
support a finding of the actual or imminent injury’ that is required.” Frey, 2022 U.S. Dist. Lexis
31053, at *12-13 (plaintiffs challenging firearms lack standing law even when they alleged that
they “intend to” carry firearms unlawfully, where they did not allege “concrete plans” to do so).
Plaintiff McGregor similarly fails to allege an injury-in-fact because he has not pleaded
facts that indicate a credible threat of prosecution.® See AC, § 231. Although courts generally
presume that the government will enforce its laws, ‘the mere existence of a law prohibiting
intended conduct does not automatically confer Article III standing.’”” Sibley v. Watches, 501 F.
Supp. 3d 210, 222 (W.D.N.Y. Nov. 16, 2020) (quoting Adam, 792 F. App’x at 22). Like the
plaintiffs in Adam, Sibley, and Frey, Plaintiff McGregor “does not allege that the [CCIA] has been
enforced against him in the past or that anyone threatened him with prosecution.” /d at 223.
Instead, he “infers that because the Penal Laws exist, he will be prosecuted once he carries his
firearms outside the confines of his license.” Frey, 2022 U.S. Dist. Lexis 31053, at *13 (changed
to the singular). This provides no basis for a credible threat of prosecution, as a matter of law,
much less a basis for a credible threat of prosecution from the Superintendent. See Does v. Suffolk
Cnty., 2022 U.S. App. Lexis 19094, at *6-*8 (2d Cir. July 12, 2022) (affirming this Court’s finding
of no standing even where plaintiffs had received letters from police ordering surrender of their

firearms, and did not do so).

® Plaintiffs’ suit is not constitutionally ripe for the same reasons, which also requires dismissal. See, e.g., Young
Advocs. for Fair Educ. vy. Cuomo, 359 F. Supp. 3d 215, 238 (E.D.N.Y. 2019).

10
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 20 of 39 PagelD #: 334

POINT Il: PLAINTIFFS HAVE NOT MADE A STRONG SHOWING OF IMMINENT
AND IRREPARABLE HARM FROM THE CHALLENGED CCIA PROVISIONS

As a threshold matter, Plaintiffs’ unreasonable delay in bringing this motion negates any
finding of imminent and irreparable harm. A moving party must act diligently to enforce his rights
since delay “undercuts the sense of urgency that ordinarily accompanies a motion for preliminary
relief and suggests that there is, in fact, no irreparable harm.” Citibank, N.A. v. Citytrust, 756 F.2d
273, 277 (2d Cir. 1985) (internal quotes and cites omitted). Here, the CCIA was passed on July 1,
2022, and Plaintiffs commenced this litigation on August 15, 2022, but they did not seek a
preliminary injunction until December 11, over five months after the statute was enacted into law
and over three months after it became effective. And they offer no reason for their inaction.

Even if the delay could be excused, Plaintiffs have not demonstrated any imminent
irreparable harm from the CCIA. To show irreparable harm, the moving party must demonstrate
that his “injury is neither remote nor speculative, but actual and imminent.” Rodriguez ex rel.
Rodriguez v. DeBuono, 175 F.3d 227, 234 (2d Cir. 1999). Plaintiffs have not demonstrated that
any of the CCIA provisions they challenge — such as the requirement that an applicant have good
moral character, or the requirement that an applicant appear before a licensing officer in-person —
will result in the denial of their applications, or otherwise interfere with their right to bear arms.
And Plaintiff McGregor has no harm—much less irreparable harm—as a result of carrying outside
his sportsman restriction since he fails to plead sufficient facts to demonstrate a concrete plan to
do so or a credible threat of prosecution.

POINT II: PLAINTIFFS HAVE NOT SHOWN A CLEAR LIKELIHOOD OF SUCCESS
ON THE MERITS OF THEIR SECOND AMENDMENT CHALLENGES TO THE CCIA

Plaintiffs raise a facial challenge to the CCIA, but such challenges “are generally

disfavored.” Dickerson vy. Napolitano, 604 F.3d 732, 741 (2d Cir. 2010). To prevail, Plaintiff must

1]
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 21 of 39 PagelD #: 335

show that “no set of circumstances exists under which the Act would be valid.” United States v.
Salerno, 481 U.S. 739, 745 (1987). Plaintiffs plainly fail to meet this high bar with respect to any
of the CCIA provisions they challenge.

A. Plaintiffs Fail To Carry Their Burden On The First Part Of The Bruen Test

As the movants, “Plaintiffs bear the initial burden of establishing a likelihood of success
on the merits.” We The Patriots USA, Inc. v. Hochul, 17 F.4th 266, 281 (2d Cir.), cert. denied,
142 8, Ct. 2569 (2022). As relevant here, and as plaintiffs concede (ECF No. 27-14 at 9-10), only
when a challenger shows that “the Second Amendment’s plain text covers an individual’s conduct”
must the government then demonstrate that its regulation is nonetheless “consistent with this
Nation’s historical tradition of firearm regulation.” Bruen, 142 S. Ct. at 2126, 2129-30. The first
step entails an analysis of “the Second Amendment’s text, as informed by history.” Jd. at 2127;
see also District of Columbia v. Heller, 554 U.S. 570, 595 (2008).

Plaintiffs barely even attempt to carry their burden on this point. Instead, plaintiffs merely
assert that “[b]ecause the plain text of the Second Amendment covers Plaintiffs’ conduct — the
possession and carriage of a handgun for self-defense[,] their conduct is ‘presumptively protected’
by the Second and Fourteenth Amendments.” ECF No. 27-14 at 10. But none of the challenged
statutes prohibit the possession or carriage of handguns, unlike the law at issue in Heller, which
“virtually banned the possession of handguns in the home,” or the one in Bruen, which “virtually
banned the possession of handguns in public.” United States v. Tilotta, No. 19-cr-4768, 2022 U.S.
Dist. Lexis 156715, at *14 (S.D. Cal. Aug. 30, 2022). Other federal courts have cautioned against
a reductive version of the plain text analysis that distills any regulation down to “possession.”

United States v. Reyna, No. 21-CR-41, 2022 U.S. Dist. Lexis 225896, at *9 (N.D. Ind. Dec. 15,

12
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 22 of 39 PagelD #: 336

2022); accord Tilotta, 2022 U.S. Dist. Lexis 156715, at *14-*15 (“simply because a law involves
firearms does not mean that the Second Amendment is necessarily implicated”).

The conduct at issue here is not simply “the possession and carriage of a handgun for self-
defense,” as the Plaintiffs would have it. ECF No. 27-14 at 10. Instead, the question is whether
the plain text of the Second Amendment provides for possession of a handgun without good moral
character, possession of a handgun without training, or possession of handgun without following
basic licensing procedures. This was Plaintiffs’ burden to show — not to simply brush away in a
single sentence — and federal courts since Bruen have regularly rejected arguments made by parties
who fail to demonstrate that their conduct fell within the Second Amendment’s plain text. See,
e.g., Gazzola v. Hochul, No. 22 Civ. 1134, 2022 U.S. Dist. Lexis 220168, at *35 (N.D.N.Y. Dec.
7, 2022) (denying preliminary injunction where “Plaintiffs fail to present any support for their
contention that the individual right secured by the Second Amendment applies to corporations or
other business organizations”); Tilotta, 2022 U.S. Dist. Lexis 156715, at *13-*14; United States
v. Gonzalez, No. 22-CV-54, 2022 U.S. Dist. Lexis 224710, at *5 (D. Utah Dec. 12, 2022) (rejecting
argument by party who “put forth no arguments to demonstrate how [laws prohibiting false
statements to acquire firearms] regulate or restrict conduct protected by the Second Amendment”);
Or. Firearms Fed., Inc. v. Brown, No. 22-cv-1815, 2022 U.S. Dist. Lexis 219391, at *25 (D. Or.
Dec. 6, 2022) (denying TRO where “Plaintiffs have failed to show that magazines capable of
accepting more than ten rounds of ammunition are covered by the plain text of the Second

Amendment”).

13
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 23 of 39 PagelD #: 337

B. The Nation’s Historical Tradition of Firearms Regulation Supports Provisions
Aimed at Ensuring That Only Law-Abiding and Responsible Persons Are Armed

Although the Court can and should deny the motion based on Plaintiffs’ failure to
demonstrate that the challenged statutes implicate the Second Amendment’s plain text, see, ¢.g.,
Reyna, 2022 U.S. Dist. Lexis 225896, at *9; Tilotta, 2022 U.S. Dist. Lexis 156715, at *14-*15,
the statutes are manifestly constitutional on the second Bruen step, as American legal history
demonstrates that measures to keep guns out of the hands of dangerous persons are fully
“consistent with the Nation’s historical tradition of firearm regulation.” Bruen, 142 S. Ct. at 2130.

From the early days of English settlement in America, governments prohibited the
possession of firearms by persons deemed dangerous.’ For example, colonial governments
prohibited the sale and trading of arms to Indigenous people, see Order of Mass. General Court
of 1648, reprinted in The Laws and Liberties of Massachusetts 28 (Harvard Univ. Press 1929),
HD Ex. 1; An Act to Prohibit the Selling of Guns, Gunpowder or Other Warlike Stores to the
Indians (1763), in 6 The Statutes at Large of Pennsylvania From 1682 to 1801, at 319-20 (WM
Stanley Ray 1899), HD Ex. 2, and the possession of firearms by Catholics who refused to take an
oath of loyalty to the government, following English statutes doing the same, An Act for Disarming
Papists, and Reputed Papists, Refusing to Take the Oaths to the Government (1756), in 7 William
W. Hening, The Statutes at Large, Being a Collection of all the Laws of Virginia 35-36 (Richmond:
Franklin Press, 1809), HD Ex. 3. The Massachusetts Bay Colony disarmed a list of named

followers of a dissident preacher named John Wheelwright because there was “just cause of

7 Although these laws reflect the broad pre- and post-Founding understanding that gun possession could be restricted
in cases where a person was dangerous or unfit, they (and others in the historical analysis discussed in this section)
are based on racial or religious animus that is repugnant to a modern understanding of the Constitution. Cf Pena-
Rodriguez v. Colorado, 137 S. Ct. 855, 867 (2017) (“It must become the heritage of our Nation to rise above the racial
classifications that are so inconsistent with our commitment to the equal dignity of all persons.”). A clear-eyed look
at American history and doctrine will necessarily reveal episodes that are shameful but nonetheless relevant, as the
Bruen opinion teaches us. See 142 S. Ct. at 2150-51. Of course, if a modern instance were to arise where gun licensing
requirements were applied in a discriminatory manner, it could, should, and would be struck down as unconstitutional.

14
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 24 of 39 PagelD #: 338

suspition that they . .. may, upon some revelation, make some suddaine irruption upon those that
differ from them in judgment.” 1 Records of Mass. 1628-1641, at 211-12 (Nathaniel B. Shurtleff,
ed. 1853), HD Ex. 4; see also generally Militia Act of 1662, 13 & 14 Car. 2, c. 3 § 13 (1662), HD
Ex. 5 (allowing royal officials to “search for and seize all arms in the custody or possession of any
person or persons whom the said Lieutenant or two or more of their deputies shall judge dangerous
to the peace of the Kingdom.”). It was thus commonly understood at the time of the Second
Amendment’s ratification that authorities could disarm persons believed to pose a threat to public
safety. See United States v. Carpio-Leon, 701 F.3d 974, 980 (4th Cir. 2012) (“Colonial
governments often barred ‘potential subversives’ from owning firearms.”).

Moreover, in the period prior to and during the Revolutionary War, numerous colonies
required individuals suspected of disloyalty to appear in person to take an oath, or face
disarmament. Massachusetts, for instance, had a law “disarming such persons as are notoriously
disaffected to the cause of America.” Act of March 14, 1776, in 1775-1776 Mass. Acts & Laws
31, HD Ex. 6. Once an individual had been deemed disaffected, he could often only regain his
right to bear arms by appearing in person before an official to swear an oath of loyalty. In
Pennsylvania, all white male inhabitants were required to appear “before some one of the justices
of the peace of the city or county where they shall respectively inhabit” to take a prescribed oath
of allegiance, and if they failed to do so, they were “disarmed by the lieutenant or sublieutenants
of the city or counties respectively.” 1776-1777 Pa. Laws ch. XXI, §§ 1, 4, at 61-63, HD Ex. 7.
Other colonies adopted similar provisions. See An Act for the Better Security of the Government,
1777, in Maryland Session Laws, HD Ex. 8; An Act to Amend An Act for Declaring What Crimes
and Practices Against the State Shall Be Treason, . . . and for Preventing the Dangers Which May

Arise From Persons Disaffected to the State, 1777, in North Carolina Session Laws, HD Ex. 9; An

15
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 25 of 39 PagelD #: 339

Act to Oblige the Free Male Inhabitants of this State Above a Certain Age to Give Assurances of
Allegiance to the Same (1777), in 9 William W. Hening, The Statutes at Large, Being a Collection
of all the Laws of Virginia 281, 281-82 (1821), HD Ex. 10. These measures were all taken at the
behest of the Continental Congress of 1776. See Journals of the Provincial Congress, Provincial
Convention, Committee of Safety and Council of Safety of the State of New York, 1775-1776-1777,
at 389 (1842), HD Ex. 11.

Character judgments also played a role in Founding-era statutes governing the militia,
which provided for the disarmament and punishment of those who showed up to muster and
demonstrated their unfitness to bear arms. Mustering laws contemplated that some individuals
would be found personally unfit to bear arms and authorized officers to take action in these cases.
See, e.g., An Act for Regulating the Militia of the State of New York (1780), 1779 N.Y. Laws, ch.
55, HD Ex. 13 (“That if any dispute shall arise with respect to the age or ability to bear arms of
any person, it shall be determined by the colonel or commanding officer of the regiment whose
determination in the case shall be final.”); An Act to Regulate the Militia (1782), 1781 N.Y. Laws,
ch. 27, HD Ex. 14 (same). New Jersey law provided that if a member of the militia appeared
drunk, disobeyed orders, used abusive language, quarreled, or instigated argument among other
militiamen, “he shall be disarmed and put under guard, by order of the commanding officer present,
until the company is dismissed, and shall be fined at the discretion of a regimental court martial.”
Act for Establishing and Conducting the Military Force of New-Jersey, 1806 N.J. Laws 536, 563,
HD Ex. 15. Pennsylvania enacted a nearly identical provision in 1822. An Act for Regulation of
the Militia of this Commonwealth, 1822 Penn. Laws 316, 340, HD Ex. 16.

At the time of ratification of the Fourteenth Amendment, Congress and the states began to

implement firearm licensing regimes involving a discretionary determination of whether an

16
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 26 of 39 PagelID #: 340

individual was potentially dangerous.® See, e.g., An Act to punish the carrying or selling of deadly
or dangerous weapons within the District of Columbia, and for other purposes § 2, Public Law 52-
159, 27 Stat. 116, 116-17 (1892), HD Ex. 17; Patrick J. Charles, Armed in America: A History of
Gun Rights from Colonial Militias to Concealed Carry 156 & n.219 (2018) (collecting ordinances
from more than two dozen cities, passed between the mid-19th century and early 20th century,
requiring a permit to carry firearms in cities across the United States subject to the discretionary
determination of an official); see also id. at 157-62 & nn.220-247 (compiling evidence of “[b]road
public support for armed carriage laws” requiring individuals to demonstrate their fitness to carry
firearms). These laws required individuals to demonstrate their suitability to carry firearms
through various means. In New York City, for instance, an individual who wanted to carry a pistol
for his protection was obligated to appear for an in-person interview with a local officer. 1881
Ordinances of the Mayor, Aldermen and Commonality of the City of New York art. XX VII, § 265,
at 214-15 (rev. Elliott F. Shepard & Ebenezer B. Shafer, 1881), HD Exs. 18 & 19. If, based on
this interview, the officer was “satisfied that the applicant is a proper and law-abiding person,” the
officer would recommend that the superintendent of police issue a permit to the individual. /d.
Similar discretionary licensing laws appeared in cities across the United States; from New York

alone examples of such laws appear in Brooklyn (at the time an independent city), HD Ex. 22 at

* Licensing was not a new invention of post-bellum America. As early at the Fourteenth Century, English subjects
were disallowed from carrying weapons without a license unless they were an officer of the peace. John Carpenter,
Liber Albus: The White Book of the City of London 335 (Henry Thomas Riley ed., London, 1861), HD Ex. 20; Patrick
J. Charles, The Faces of the Second Amendment Outside the Home: History Versus Ahistorical Standards of Review,
60 Cleveland St. L. Rev. 1, 27 & n.129 (2012). And the license to carry weapons was generally confined only to
wealthy landowners and members of the nobility, who were presumed to be in no danger of committing violence or
disturbing the peace. 1 William Hawkins, A Treatise of the Pleas of the Crown, at 136, ch. 63, § 9, HD Ex. 21
(allowing “Persons of Quality” to wear common weapons in public because they are unlikely to “cau[se] the leaft
Suspicion of an intention to commit any Act of Violence or Disturbance of the Peace”); see also Charles, The Faces
of the Second Amendment Outside the Home, 60 Cleveland St. L. Rev. at 26 & nn.122-23. And individuals granted
these licenses were required to appear before the Clerk of the Privy Council to register these licenses. See Charles,
Faces of the Second Amendment, 60 Cleveland St. L. Rev. at 27.

17
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 27 of 39 PagelD #: 341

2; Buffalo, HD Ex. 23 at 176-77; Elmira, HD Ex. 24 at 3; Syracuse, HD Ex. 25 at 243; Troy, HD
Ex. 26 at 425; Lockport, HD Ex. 27 at 337; and Albany, HD Ex. 28 at 849-50.

Federal courts both before and after the Bruen decision have considered these and other
historical sources and concluded that American legal history supports measures preventing persons
who are not law abiding, responsible citizens from having firearms. See, e.g., Range v. Attorney
General, 53 F.4th 262, 282 (3d Cir. Nov. 16, 2022) (concluding that legislatures could disarm
persons “not merely based on an individual’s demonstrated propensity for violence, but rather to
address the threat purportedly posed by entire categories of people to an orderly society and
compliance with its legal norms”); U.S. v. Yancey, 621 F.3d 681, 684-85 (7th Cir. 2010) (“most
scholars of the Second Amendment agree that the right to bear arms was tied to the concept of a
virtuous citizenry and that, accordingly, the government could disarm ‘unvirtuous citizens.’”); see
also Libertarian Party, 970 F.3d 106, 127 (2d Cir. 2020) (no Second Amendment violation where
“the statute does not burden the ability of Jaw-abiding, responsible citizens to use arms” (quotation
omitted, emphasis in the original)).

C. The Good Moral Character Requirement is Constitutional

This history supports New York’s requirement that persons obtaining guns have good
moral character, and the application requirements “designed to ensure only that those bearing arms
in the jurisdiction are, in fact, ‘law abiding, responsible citizens.’” Bruen, 142 S. Ct. at 2138 n.9
(quoting Heller, 554 U.S. at 635). Good moral character connotes the absence of “base or
depraved” actions that are “manifestations of ‘moral turpitude.’” Konigsberg v. State Bar of Cal.,
353 U.S. 252, 263 (1957). Those without good moral character fall outside the Second
Amendment’s scope, as made clear by the Bruen Court’s reference to the right of “law-abiding,

responsible citizens to use arms for self-defense.” Bruen, 142 S. Ct. at 2131; cf N.Y. Penal Law

18
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 28 of 39 PagelD #: 342

§ 400.00(1)(b) (requiring that a license applicant have “the essential character, temperament, and
judgment necessary to be entrusted with a weapon and to use it only in a manner that does not
endanger oneself or others”).

Moreover, the good moral character requirement is constitutional because it is equivalent
to those in several of the “shall-issue” regimes that Bruen endorsed. See, e.g., Ind. Code § 35-47-
2-3(g) (“If it appears to the superintendent that the applicant . . . is of good character and
reputation [and] is a proper person to be licensed . . . the superintendent shall issue to the applicant
a license to carry a handgun in Indiana.” (emphasis added)); Ga. Code Ann. § 16-11-129(d)(4)
(judge “shall issue such applicant a license or renewal license to carry any weapon... . unless the
judge determines such applicant has not met all the qualifications, is not of good moral character”
(emphasis added)); see also Conn. Gen. Stat. § 29-28(b)? (“that such person is a suitable person to
receive such permit”); R.I. Gen. Laws § 11-47-11 (“if it appears . . . that he or she is a suitable
person to be so licensed’); cf Bruen, 142 S. Ct. at 2123 n.1 (citing each of the above statutes as
examples of permissible licensing regimes).'° As Bruen emphasized, “nothing in our analysis

should be interpreted to suggest the unconstitutionality of” these laws.” 142 S. Ct. at 2138 n.9.

” As the Bruen court noted, Connecticut is a “shall issue” jurisdiction even though its law gives officials “discretion
to deny a concealed-carry permit to anyone who is not a “suitable person,” a standard interpreted to preclude permits
only to those “individuals whose conduct has shown them to be lacking the essential character of temperament
necessary to be entrusted with a weapon.” 142 S. Ct. at 2123 n.1 (quoting Dwyer v. Farrell, 193 Conn. 7, 12 (1984)).
'© New York’s revised standard focuses not on a judgment of an applicant’s virtue, but rather on whether there are
indicia that the person may be dangerous. Accordingly, although federal courts have been divided on whether the
Second Amendment requires that a person be dangerous in order for him or her to be disarmed, compare Range, 53
F.4th at 282 (disarmament not limited to being “merely based on an individual's demonstrated propensity for
violence”) with Kanter v. Barr, 919 F.3d 437, 469 (7th Cir. 2019) (Barrett, J., dissenting) (person cannot be disarmed
“[a]bsent evidence that [he] would pose a risk to the public safety if he possessed a gun”), the fact that New York’s
standard is based on an assessment of dangerousness means it would pass muster in either scenario.

19
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 29 of 39 PagelD #: 343

D. The Licensing Requirements Are Constitutional

In-Person Interview. To ensure that only “law-abiding, responsible citizens” carry arms
in public, Bruen, 142 S. Ct. at 2131 (quoting Heller, 554 U.S. at 635), states may permissibly
require applicants to undergo a “background check.” Jd. at 2138 n.9; see also id. at 2162
(Kavanaugh, J., concurring) (“{SJhall-issue regimes may require a license applicant to undergo
fingerprinting, a background check, a mental health records check, and training in firearms
handling and in laws regarding the use of force, among other possible requirements.”). New
York’s interview requirement allows an officer to speak directly with the applicant to assess their
veracity and ask any clarifying questions necessitated by the individual’s application.

Plaintiffs have failed to show how or why any of the challenged measures unduly burdens
the rights of law-abiding responsible persons to carry guns for self-defense. See Bruen, 142 S. Ct.
at 2129-30 (Plaintiff must demonstrate that “the Second Amendment’s plain text covers an
individual’s conduct,” and “[t]he government must then justify its regulation” historically). In any
event, this requirement finds ample historical support. As discussed above, colonial statutes
disarming groups deemed dangerous frequently allowed exceptions if someone appeared in person
to swear an oath, while Revolutionary loyalty laws directly required in-person appearances. See,
e.g., 1776-1777 Pa. Laws ch. XX], §§ 1, 4, at 61-63, HD Ex. 7 (persons must appear “before some
one of the justices of the peace of the city or county where they shall respectively inhabit” or be
disarmed). Militia mustering laws likewise required citizens to appear in-person to be inspected,
while Reconstruction-era licensing laws, such as New York’s, also called for an in-person
appearance. See, e.g., 1881 Ordinances of the Mayor, Aldermen and Commonality of the City of

New York art. XXVII, § 265, at 214-15 (rev. Elliott F. Shepard & Ebenezer B. Shafer, 1881), HD

20
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 30 of 39 PagelD #: 344

Exs, 18 & 19 (person “who has occasion to carry a pistol for his protection[] may apply to the
officer in command at the station-house of the precinct where he resides”).

Character References. The CCIA’s requirement that an applicant provides four character

references is likewise necessary to verify the information in the person’s application and is
analogous to the longstanding practice of evaluating a person’s dangerousness in part on that
person’s reputation. Both English and colonial law disarmed individuals based on a reputation-
based perception of the individuals’ belonging to certain dangerous groups. See, e.g, HD Ex. 3
(Virginia statute disarming persons where “any two or more justice of the peace, [] shall know, or
suspect any person to be a Papist, or shall be informed that any person is . . .”); HD Ex. 4 (disarming
named religious dissidents based on “just cause of suspition”). Colonies frequently disarmed
people who were “notoriously disaffected to the cause of America, or who have not associated”
with the “United Colonies.” HD Ex. 6 at 32. And King Charles II of England authorized royal
officials to seize the arms if his Lieutenant, or two or more of the lieutenant’s deputies, thought
the person seemed dangerous. Militia Act of 1662, 13 & 14 Car. 2, c. 3 § 13 (1662), HD Ex. 5; see
also Compiled Ordinances of the City of Omaha, ch. XXXI, § 6 (Champion S. Chase ed., 1881),
HD Ex. 30 (similarly limiting the concealed carrying of weapons to “well known and worthy
citizens” and “persons of good repute”). In short, during the relevant period of American history,
officials would consider a person’s reputation and associations in evaluating whether he bore
individual indicia of risk.

Cohabitants. Plaintiffs challenge the constitutionality of the CCIA’s requirement that an
applicant list the individuals who reside in his home, but their claim fails at Step 1 of the Bruen
analysis: the requirement does not burden the right of responsible, law-abiding individuals to carry

a firearm for protection. See Tilotta (rejecting plain text argument regarding forms that “simply

21
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 31 of 39 PagelD #: 345

require [persons] to provide basic identifying information. This is not equivalent to near total bans
on the possession on handguns in the home or in public. Therefore, the Second Amendment’s text
does not cover [movant]’s course of conduct.”). Moreover, even if the requirement imposed a
burden on an applicant, it is analogous to the historical practices listed above, which considered
an individual’s associates when deciding whether that person could go armed. In fact, the CCIA’s
provision is significantly less burdensome—it requires only disclosure of who lives in the
applicant’s home (and thus might have ready access to any firearm or trigger safe storage
requirements) rather than considering all of an individual’s associates and reputation or basing
decisions off the individual’s mere inclusion in a particular group.

Training Requirement. The Supreme Court has recognized that “to bear arms implies

something more than mere keeping; it implies the learning to handle and use them in a way that
makes those who keep them ready for their efficient use.” Heller, 554 U.S. at 617-18
(recognizing that the right to bear arms “cannot exist unless the people are trained to bearing
arms”). Unsurprisingly then, 31 shall-issue jurisdictions besides New York require an individual
to take a training course to obtain a concealed carry license.'! The Bruen majority acknowledged

3

that shall-issue licensing standards “often require applicants . . . to pass a firearms safety course.’
1428. Ct. at 2138 n.9.
While some Plaintiffs complain about the amount of training time required by the CCIA,

see, e.g., Mougios Decl., ff] 12-13, the number of hours of training that New York requires is

See Alaska Stat. § 18.65.705(6); Ariz. Stat. § 13-3112(E)(6); Ark. Stat. § 5-73-309(13); Colo. Stat. § 18-12-
203(1)(h)(V1); Conn. Gen. Stat. § 29-28(b); 11 Del. Code Ann. § 1441(a)(3); Fla. Stat. § 190.06(2)(h)(2)-(4);
Idaho Stat. § 18-3302K(4)(c); 430 Ill. Stat. § 66/25(6); lowa Stat. § 724.9; Kan. Stat. 75-7c04(b)(1); Ky. Stat. §
237.110(4)(i); La. Rev. Stat. § 1379.3(D); 25 Maine Stat. § 2003(1)(E)(5); Mich. Stat. § 28.425j; Minn. Stat. §
624.714; Mo, Stat. 571.101(2)(10); Mont. Stat. § 45-8-321(3); Nev. Rev. Stat. § 202.3657(3)(c); N.M. Stat. Ann.
§ 29-19-4(A)(10); N.C. Stat. § 14-415.12(4) (effective Oct. 1, 2022); Ohio Rev. Code § 2923.125; 21 Okla. Stat.
Ann. § 1290.12(A)(2); Or. Rev. Stat. Ann. § 166.291(1)(f); R.l. Gen. Laws § 11-47-16; S.C. Code § 23-31-215(A)(5);
Tenn. Code Ann. § 39-17-1366(b)(4)(A); Va. Code § 18.2-308.02(B); W.Va. Code § 61-7-4(e); Wis. Stat. Ann. §
175.60(4); Wyo. Stat. Ann. § 6-8-104(b)(vii).

22
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 32 of 39 PagelD #: 346

not unique or out of step with other jurisdictions. See, e.g., 430 Ill. Comp. Stat. 66/75(b) (“at
least 16 hours, which includes range qualification time”); Cal. Penal Code § 26165(a)(3), (c) (“up
to a maximum of 24 hours” and “shall include live-fire shooting exercises on a firing range”);
N.M. Stat. Ann. § 29-19-7A (“not less than fifteen hours in length”); 13 Alaska Admin. Code §
30.070(a)(1)(A) (curriculum must “include[] at least 12 hours of training in the use of handguns .
. . including a test of competence with a handgun”). And the requirement is consistent with
historical analogues. From the very beginning of American history, training in the use of arms
was required as part of a citizen’s mandatory duty to serve in the local militia. See, e.g., 1779 N.Y.
Laws 237, HD Ex. 29. For a New Yorker, militia trainings could occur up to six times per year.
See 1779 N.Y. Laws 239, HD Ex. 29; see also 1782 N.Y. Laws 442-43, HD Ex. 14; see United
States v. Miller, 307 U.S. 174, 181 (1939) (noting that Virginia’s militia statute required that “there
shall be a private muster of every company once in two months”). And the training sessions could
be long: although most jurisdictions had no upward limit on the length of each training session,
New Jersey ultimately enacted a law requiring that militia drilling would be capped at six hours
per day. 1806 NJ Laws 565, HD Ex. 32. Compared with the dozens of hours of training, marching,
and drilling required annually of every citizen during the Founding era, New York’s training
requirement is “consistent with, and even more lenient than, the training requirements of the 18th
and 19th Centuries.” Corbett v. Hochul, No. 22 Civ. 5867, HD Ex. 34 at 27:4-7 (S.D.N.Y. Nov.
29, 2022) (Schofield, J., ruling from the bench).

To the extent that Plaintiffs complain about the fees for this training, see, e.g., Mashow
Decl., | 18, requiring individuals to bear the reasonable costs of their firearms training is entirely
consistent with history. Militia statutes required “every citizen” to purchase all the materials

required for service “at his own expence,” and the materials were frequently expansive. Thomas

23
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 33 of 39 PagelD #: 347

Greenleaf, Laws of the State of New-York, HD Ex. 12 at 228 (1792) (emphasis added); see also
Militia Act, 1 Stat at 271, HD Ex. 31. Similarly, the militia statutes provided that citizens were
required to take time out of their schedules for training in arms, without separate compensation for
doing so. This necessarily involved a significant opportunity cost: militia “membership was
service to the state that always disrupted one’s chosen round of activities.” David C. Williams,
Civic Republicanism and the Citizen Militia: The Terrifying Second Amendment, 101 Yale L.J.
551, 580 (Dec. 1991). However, the militia statutes did not require that the states compensate
citizens for the time spent in mandatory training, instead reserving wages for times of “actual
service.” Greenleaf, Laws of the State of New-York, HD Ex. 12 at 232; Henning, Collection of All
the Laws of Virginia, HD Ex. 33 at 18-19. Accordingly, “there’s ample historical precedent not
only for the training requirement but imposing costs in connection with the bearing of arms and
licensure on the applicants.” Corbett, HD Ex. 34 at 27:21-24.

Social Media. The social media disclosure requirement is meant only to “confirm the

information regarding the applicant’s character and conduct” provided by an applicant’s character
references. Penal Law § 400.00(1)(0)(iv). Accordingly, the information is reviewed as part of the
dangerousness assessment discussed above and is well-grounded in longstanding traditions.

The Founders did not have social media, but that of course does not make the CCIA’s
requirement unmoored from historical precedents. See Bruen, 142 S. Ct. at 2132 (cases implicating
“dramatic technological changes may require a more nuanced approach”). For example, loyalty
oaths were a tool the Founders used to try to uncover the colonists’ potentially dangerous beliefs.
Thus, Pennsylvania justified its law requiring all white male inhabitants to swear allegiance on
pain of disarmament by observing that “sundry persons” had “sordid and mercenary motives” to

“withhold their service and allegiance” while others “rendered great and eminent service in

24
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 34 of 39 PagelD #: 348

defence and support of . . . independence.” HD Ex. 7. Loyalty oaths are a relevant analogue to the
extent they sought to uncover a hidden propensity for dangerous behavior.

New York’s social media disclosure requirement is, in fact, a critical factor in determining
whether an applicant intends to threaten others. This is because a social media posting—perhaps
even more than the other required disclosures—may reveal specific threats or indicators of
violence that demonstrate an intent to use a weapon aggressively. This is not speculative: again
and again, people who commit mass shootings leave a long trail of disturbing content on their social
media accounts, often posted well before they legally purchase the guns used to commit their
atrocities. For instance, a committee of the Texas House of Representatives found that in the year
before his attack, the Uvalde shooter “began to demonstrate interest in gore . . . sometimes sharing
gruesome videos and images of suicides, beheadings, accidents, and the like.”'? His comments
about school shootings earned him the nickname ‘Yubo’s school shooter’” on that social media
platform. All of this activity took place before the shooter bought his gun, legally, when he turned
18. See id. Social media can also demonstrate “several [other] sound bases . . . for denying” a
“request to possess a firearm” that the Second Circuit has already identified, such as “threats to
harm others” and “repeatedly reckless conduct with a weapon while intoxicated.” Libertarian
Party, 970 F.3d at 126. Because these are plainly constitutional applications of the requirement, it
should be upheld. Salerno, 481 U.S. at 745.

Nor is there any basis for an argument that the social media disclosure provision violates
the First Amendment since it passes the applicable intermediate scrutiny test. It is content neutral

in that it simply requires disclosure of a list of accounts, regardless of their substance. See Doe v.

"2 See Texas House of Representatives Investigative Committee on the Robb Elementary Shooting, Interim report
2022, available at, https://house.texas.gov/media/pdf/committees/reports/87interim/Robb-Elementary-Investizative-
Committee-Report.pdf.

2S
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 35 of 39 PagelD #: 349

Harris, 772 F.3d 563, 567 (9th Cir. 2014) (finding California law requiring sex offenders to
disclose a list of internet identifiers to be content neutral because it did not prohibit the use of
“particular websites, or any particular type of communication”). Under intermediate scrutiny, the
challenged measure must be “narrowly tailored to serve a significant governmental interest,” but
need not be ““the least restrictive or least intrusive means of achieving the stated governmental
interest.’” Mastrovincenzo v. City of New York, 435 F.3d 78, 98 (2d Cir. 2006) (cleaned up). New
York certainly has a “substantial, indeed compelling” interest in the reduction of gun violence,
Libertarian Party, 970 F.3d at 128, so the outcome turns on the narrow tailoring prong, which “is
satisfied so long as the content-neutral regulation promotes a substantial governmental interest that
would be achieved less effectively absent the regulation.” Mastrovincenzo, 435 F.3d at 98 (cleaned
up, emphasis in the original). The social media disclosure provision is narrowly tailored. It does
not actually restrict speech, only requiring disclosure of a list of accounts, and the disclosure
requirement is closely circumscribed: it is 1) only triggered by voluntary behavior—a decision to
apply for a gun license; 2) only used to determine whether the applicant presents a significant
danger of violence; and 3) only requires “a list of former and current social media accounts of the
applicant from the past three years.” Penal Law § 400.00(1)(o)(iv). And this information directly
from the applicant can be used “to confirm” (or, in some cases, contradict) the information
furnished by external sources. /d. § 400.00(1)(0)(iv).

Allowing Licensing Officers to Request Other Information. Plaintiffs state that the

provision in Penal Law § 400.00(1)(0)(v) allowing a licensing officer to request “such other
information required by the licensing officer that is reasonably necessary and related to the review
of the licensing application” is unconstitutional because it allows for “open-ended discretion”.

ECF No. 27-14 at 15. But this facial challenge could succeed only if there were no further

26
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 36 of 39 PagelD #: 350

information it would be constitutional to request. See Jacoby & Meyers, LLP v. Presiding
Justices, 852 F.3d 178, 184 (2d Cir. 2017). And that is obviously not the case, as other “‘shall-
issue” states approved of in the Bruen opinion require the submission of information that New
York does not, or likewise permit licensing officials to request additional information that is
reasonably necessary. See, e.g., Ala. Stat. § 13A-11-75(d)(2) (“If the sheriff cannot determine
whether [an enumerated factor] applies to the applicant, the sheriff may request additional
information from the applicant.”).

E. Plaintiffs Cannot Succeed on a Facial Challenge to the Requirement That License
Applications Be Ruled On Within Six Months of the Date of Presentment

Plaintiffs have not demonstrated any clear likelihood of success on the merits as to their
challenge to Penal Law § 400.00(4-a), which provides that “[e]xcept upon written notice to the
applicant specifically stating the reasons for any delay, in each case the licensing officer shall act
upon any application for a license pursuant to this section within six months of the date of
presentment of such an application to the appropriate authority.” Asa threshold matter, no Plaintiff
asserts any injury-in-fact traceable to this statute — if anything, Plaintiffs’ purported injuries seem
to stem from an assertion that Suffolk County has not followed it. See, e.g., AC, § 217 (noting that
Plaintiff McGregor had previously sued the County “because more than 6 months had elapsed
since the filing of his application”).'? But even if the Plaintiffs had carried their burden to show
standing as to this provision, there is no merit to their argument that a six-month limit for
adjudicating licensing applications is facially unconstitutional.

Plaintiffs’ moving papers devote only three sentences and four lines of text to this

challenge, asserting that “[e]ven the 6-month window . . . is too long to wait” and that the process

'S The Superintendent has no knowledge of Suffolk County’s procedures and takes no position on whether they comply
with state or federal law.

27
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 37 of 39 PagelID #: 351

should only take “a matter of minutes” to run a “federal criminal background check.” ECF No.
27-14 at 11. Plaintiffs do not attempt to demonstrate why the Second Amendment’s plain text
would provide a right to obtain a firearm instantly. Certainly nothing in Bruen supports such a
proposition — to the contrary, the Bruen majority only contemplated “constitutional challenges . .
. where, for example, lengthy wait times in processing license applications . . . deny ordinary
citizens their right to public carry.” 142 S. Ct. at 2138 n.9. Nor do any of the historical sources
discussed above include any requirement that the government adjudicate a person’s loyalty or
dangerousness within a specified period of time; by providing a maximum period in which
applications must be adjudicated, New York law provides more guarantee of a speedy process than
the laws applicable in the 18th or 19th Centuries. See, e.g. 1881 Ordinances of the Mayor,
Aldermen and Commonality of the City of New York art. XXVII, § 265, at 214-15, HD Exs. 18
& 19 (allowing for persons to apply for a pistol license at the local police precinct, where the local
officer “if satisfied that the applicant is a proper and law-abiding person, shall give such person a
recommendation to the superintendent of police, .. who shall issue a permit to the said person,”
with no time limit for how long the process could take.).

Although the Superintendent is not aware of any other cases raising constitutional
challenges to a maximum processing time for a handgun license, federal cases in other contexts
indicate that there is nothing unreasonable about a processing period that sets a six-month
maximum to adjudicate an application. See, e.g., INS v. Miranda, 459 U.S. 14, 19 (1982) (18-
month period to review immigration application was not “unwarranted” as “the number of
applications received by the [agency Jand the need to investigate their validity may make it difficult
for the agency to process an application as promptly as may be desirable.””). Moreover, in most of

New York, the licensing officer is a local Supreme or County Court judge, see N.Y. Penal Law §

28
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 38 of 39 PagelID #: 352

265.00(10), whose dockets may be as busy as a federal court’s, but without the same resources,
clerks, or support staff. Notably, Congress has determined that six months is a reasonable period
for federal judges to adjudicate motions, many of which involve constitutional issues no less
fundamental than issuance of a gun license, and the tools involved do not include a statutory
mandate like Penal Law § 400.00(4-a), but rather an informal incentive in the form of the “six-
month list.” See 28 U.S.C. § 476. Simply put, there is nothing to indicate that a six-month statutory
maximum for processing gun permit applications is unreasonable or unwarranted, let alone facially
unconstitutional.

F. Applying A Criminal Penalty to Persons Who Carry Outside of License
Restrictions is Constitutional

Plaintiffs challenge Penal Law § 400.00(15) as unconstitutional to the extent that it applies
to a person who carries outside of his license restriction, but this claim fails as well. Bruen did not
upend New York’s licensing provisions; it held only that the “proper cause” standard violated the
constitutional rights of individuals who did not meet that standard. 142 S. Ct. at 2126. “[T]he
Court’s decision does not prohibit States from imposing licensing requirements for carrying a
handgun for self-defense.” /d. at 2121 (Kavanaugh, J., concurring). If the State is allowed to
impose licensing requirements for carrying firearms, it also must have a corresponding
enforcement mechanism. And since the "right secured by the Second Amendment is not
unlimited" and is "not a right to keep and carry any weapon whatsoever in any manner whatsoever
and for whatever purpose” Heller, 554 U.S. at 626, an individual who knowingly violates his
license restriction is properly subject to a misdemeanor penalty. By his conduct, that individual is
demonstrating that he is not the “responsible, law-abiding” citizen to whom the Second

Amendment applies. Bruen, 142 S. Ct. at 2122, 2125, 2131.

29
Case 2:22-cv-04778-GRB-ST Document 34 Filed 01/20/23 Page 39 of 39 PagelID #: 353

POINT IV: _ THE EQUITIES AND THE PUBLIC INTEREST FAVOR ALLOWING
ENFORCEMENT OF THE CCIA

In addressing the equities, “courts must balance the competing claims of injury and must
consider the effect on each party of the granting or withholding of the requested relief.” Winter,
555 U.S. at 24. Here, Plaintiffs have no plausible claim of injury related to the licensing
requirements or to carrying outside of a license restriction because of their standing deficiencies
and the lack of merit of their constitutional claims. Conversely, “[a]ny time a State is enjoined by
a court from effectuating statutes enacted by representatives of its people, it suffers a form of
irreparable injury,’ particularly where there would be ‘an ongoing and concrete harm to . . . public
safety interests.” Maryland v. King, 567 U.S. 1301, 1303 (2012). Without the challenged good
moral character and disclosure requirements, more guns may end up in the hands of persons who
should not have them, and without the training requirements, guns may end up in the hands of
persons who are not able to wield them responsibly. These significant public safety concerns weigh
strongly against issuing an injunction.

CONCLUSION

For the reasons set forth above, Plaintiffs’ motion for a preliminary injunction against
defendants’ enforcement of the CCIA should be denied.

Dated: Hauppauge, New York
January 20, 2023 LETITIA JAMES
Attorney General for the State of New York
Attorney for Superintendent Nigrelli

By: fil tin [4 pasate

Patricia M. Hingerton
Assistant Attorney General
300 Motor Parkway, Suite 230
Hauppauge, New York 11788
Patricia. Hingerton@ag.ny.gov
(631) 231-2424

30
